                          Case 2:20-cr-00056-DPM Document 53 Filed 09/29/21 Page 1 of 8
AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet l
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                                                                                                                      _ U.S. . . !jRURT
                                                                                                                   IAIIJl!II~, .WWS

                                          UNITED STATES DISTRICT COURT                                                       SEP 2 9 2021
                                                             Eastern District of Arkansas                          TAMffl~S, CLERK
               UNITED STATES OF AMERICA                                   ~        JUDGMENT IN A 2rimINAL~~CLERK
                                  v.                                      )
                           David Jenkins                                  )
                                                                          )        Case Number: 2:20-cr-56-DPM
                                                                          )        USM Number: 33262-009
                                                                          )
                                                                          )         J. Blake Byrd
                                                                          )        Defendant's Attorney
THE DEFENDANT:
~ pleaded guilty to count(s)           2 of the Indictment
D pleaded nolo contendere to count(s)
     which was accepted by the court.
D was found guilty on count(s)
     after a plea ofnot guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                        Offense Ended
26   u.s.c. §§ 5841,
            5861(d) & 5871        Possession of an Unregistered Firearm, a Class C Felony                   10/18/2019              2



       The defendant is sentenced as provided in pages 2 through               8          of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)
li1 Count(s)       1                                    li1' is    Dare dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 davs of any chan_ge of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenaant must notify the court and United States attorney of material clianges in economic circumstances.

                                                                                                          9/24/2021
                                                                         Date oflmposition of Judgment




                                                                          D.P. Marshall Jr.                         United States District Judge
                                                                         Name and Title of Judge
                          Case 2:20-cr-00056-DPM Document 53 Filed 09/29/21 Page 2 of 8
AO 245B (Rev. 09/19) Judgment in Criminal Case
                      Sheet 2 - Imprisonment

                                                                                                       Judgment-Page -=2- of     8
 DEFENDANT: David Jenkins
 CASE NUMBER: 2:20-cr-56-DPM

                                                               IMPRISONMENT
           The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
 total term of:

 60 months.




      Ill    The court makes the following recommendations to the Bureau of Prisons:
              1) that Jenkins participate in a residential drug abuse program, or nonresidential programs if he doesn't qualify for
             RDAP;
             2) that Jenkins participate in mental-health counseling during incarceration;
             3) that Jenkins participate in educational and vocational programs during incarceration, including a GED program; and

      !ill   The defendant is remanded to the custody of the United States Marshal.

      D      The defendant shall surrender to the United States Marshal for this district:

             •   at   --------- D                       a.m.     D p.m.       on

             D as notified by the United States Marshal.

      D      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

             D   before 2 p.m. on

             D as notified by the United States Marshal.
             D as notified by the Probation or Pretrial Services Office.


                                                                    RETURN
 I have executed this judgment as follows:




             Defendant delivered on                                                          to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                                     UNITED STATES MARSHAL


                                                                           By---------------------
                                                                                                  DEPUTY UNITED STATES MARSHAL
                        Case 2:20-cr-00056-DPM Document 53 Filed 09/29/21 Page 3 of 8
AO 2458 (Rev. 09/19) Judgment in a Criminal Case
                      Sheet 2A- Imprisonment
                                                                                        Judgment-Page   3    of      8
DEFENDANT: David Jenkins
CASE NUMBER: 2:20-cr-56-DPM

                                           ADDITIONAL IMPRISONMENT TERMS
 Recommendations to the Bureau of Prisons (continued):


 4) designation to the Federal Medical Center closest to West Memphis, Arkansas, given Jenkins's psychiatric diagnoses,
 or otherwise to FCI Forrest City to facilitate family visitation.
                         Case 2:20-cr-00056-DPM Document 53 Filed 09/29/21 Page 4 of 8
AO 245B (Rev. 09/19) Judgment in a Criminal Case
                      Sheet 3 - Supervised Release
                                                                                                         Judgment-Page     4     of _ _8__
DEFENDANT: David Jenkins
CASE NUMBER: 2:20-cr-56-DPM
                                                       SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of:
 3 years.




                                                     MANDATORY CONDITIONS
1.      You must not commit another federal, state or local crime.
2.      You must not unlawfully possess a controlled substance.
3.      You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
        imprisonment and at least two periodic drug tests thereafter, as determined by the court.
                D The above drug testing condition is suspended, based on the court's determination that you
                    pose a low risk of future substance abuse. (check if applicable)
4.       D You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
            restitution. (check if applicable)
5.       ii You must cooperate in the collection of DNA as directed by the probation officer. (check ifapplicable)
6.       D You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
            directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
            reside, work, are a student, or were convicted of a qualifying offense. (check ifapplicable)
7.       D You must participate in an approved program for domestic violence. (check ifapplicable)
You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 3A- Supervised Release
                                                                                               Judgment-Page   -----'5'---_   of   ----"-8___
DEFENDANT: David Jenkins
CASE NUMBER: 2:20-cr-56-DPM

                                      STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
      release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
      frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
      court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
      the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
      hours of becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
      take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
      doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
      you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
      responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
      days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
      becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
      convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
      probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
      designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
      first getting the permission of the court.
12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
      require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
      person and confirm that you have notified the person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview ofProbation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                                    Date _ _ _ _ _ _ _ _ __
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                        Case 2:20-cr-00056-DPM Document 53 Filed 09/29/21 Page 6 of 8
                       Judgment in a Criminal Case
                       Sheet 3D- Supervised Release
                                                                                          Judgmem-Page    6     of         8
DEFENDANT: David Jenkins
CASE NUMBER: 2:20-cr-56-DPM

                                         SPECIAL CONDITIONS OF SUPERVISION
 51) Jenkins must participate, under the guidance and supervision of the probation officer, in a substance-abuse treatment
 program, which must include regular and random drug testing, and may include outpatient counseling, residential
 treatment, recovery meetings, or some combination of those options.

 52) Jenkins must participate in a mental-health counseling under the guidance and supervision of the probation officer.
                         Case 2:20-cr-00056-DPM Document 53 Filed 09/29/21 Page 7 of 8
AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 5 - Criminal Monetary Penalties
                                                                                                     Judgment-Page - ~ - of
 DEFENDANT: David Jenkins
 CASE NUMBER: 2:20-cr-56-DPM
                                                CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                       Assessment               Restitution                                   AVAA Assessment*           JVTA Assessment**
 TOTALS           S 100.00                  $                       $                     $                          $



 D    The determination of restitution is deferred until                    An Amended Judgment in a Criminal Case (AO 245C) will be
                                                               - - - -.
      entered after such determination.

 D    The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned ~YJ!l:ent, unless s~ified otherwise in
      the priority or~ or perc!,'Dtage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
      before the Umted States 1s paid.

 Name of Payee                                                  Total Loss***             Restitution Ordered        Priority or Percentage




                                                                                                    0.00
 TOTALS                               $
                                          - - - - - - -0.00
                                                       --                    $
                                                                                 ---------

 D     Restitution amount ordered pursuant to plea agreement $
                                                                        ---------
 D     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 D     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       0 the interest requirement is waived for the            D fine    D restitution.
       D the interest requirement for the            D fine      D restitution is modified as follows:

 • Amy, VickyVand Andv Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
 •• Justice for ictims of Trafficking Act of2015, Pub. L. No. 114-22.
 ••• Findings for the total amount oflosses are required under Chapters 109A, 110, l lOA, and 113A of Title 18 for offenses committed on
 or after September 13, 1994, but before April 23, 1996.
AO 2458 (Rev. 09/19)      Casein 2:20-cr-00056-DPM
                       Judgment  a Criminal Case              Document 53 Filed 09/29/21 Page 8 of 8
                       Sheet 6- Schedule of Payments
                                                                                                           Judgment-Page   8    of         8
 DEFENDANT: David Jenkins
 CASE NUMBER: 2:20-cr-56-DPM

                                                   SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A     ~      Lump sum payment of$ _1~0~0~.0~0~--- due immediately, balance due

              D     not later than _ _ _ _ _ _ _ _ _ , or
              Ill   in accordance with D C, D D,   D E, or                liZI   F below; or

 B    D Payment to begin immediately (may be combined with              D C,         D D, or     D F below); or
 C     D      Payment in equal _ _ _ _ _ (e.g., weekly, monthly, quarterly) installments of $ _ _ _ over a period of
             _ _ _ _ _ (e.g., months or years), to commence _ _ _ _ (e.g., 30 or 60 days) after the date of this judgment; or

 D     D      Payment in equal _ _ _ _ _ (e.g., weekly, monthly, quarterly) installments of $ _ _ _ over a period of
             _ _ _ _ _ (e.g., months or years), to commence _ _ _ _ (e.g., 30 or 60 days) after release from imprisonment to a
              term of supervision; or

 E     D      Payment during the term of supervised release will commence within _ _ _ _ (e.g., 30 or 60 days) after release from
              imprisonment The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F     Ill    Special instructions regarding the payment of criminal monetary penalties:
               If Jenkins can't pay the special assessment immediately, then during incarceration, he must pay 50 percent of all
               funds available to him. After release, he must pay 10 percent of his gross monthly income. Jenkins must make
               payments until the assessment is paid in full.



 Unless the court has expressly ordered otherwise, ifthis~juent imposes imprisonment, payment ofcriminal mon~ pena!ties is due during
 the period ofim~onment All criminal mone~                ties, except those payments made through the Federal Bureau of Prisons' Inmate
 Financial Responsibility Program, are made to the c erk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 D    Joint and Several

      Case Number
      Defendant and Co-Defendant Names                                                 Joint and Several              Corre~ndinP Payee,
      (including defendant number)                       Total Amount                      Amount                        if appropriate




 D    The defendant shall pay the cost of prosecution.

 D    The defendant shall pay the following court cost(s):

 D    The defendant shall forfeit the defendant's interest in the following property to the United States:




Pa~ents shall be ~plied in the following order: (I) assessment, (2) restitution princ!J?al, (3} restitution interest, (4) AVAA assessment,
(5J fine principal, (6) fine interest, (7) community restitution, (8) NTA assessment, ('J) penalties, and (10) costs, mcluding cost of
prosecution and court costs.
